           Case 1:15-cr-00045-LJO-BAM Document 131 Filed 07/14/16 Page 1 of 2



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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 1:15-cr-0045- LJO
12                                 Plaintiff,               STIPULATION TO SET
                                                            SENTENCING HEARING DATE AND
13   v.                                                     VACATE STATUS CONFERENCE
14   JYOTESHNA KARAN, et al.,                               DATE:       July 18, 2016
                                                            TIME:       8:30 a.m.
15                                 Defendants.              JUDGE:      Hon. Lawrence J. O’Neill
16

17                                               STIPULATION
18          The United States of America, by and through its counsel of record, and defendant, by and
19
     through his counsel of record, hereby stipulate as follows:
20
            1.      The defendant Martin Bahrami entered a guilty plea on November 11, 2015. ECF
21
                    No. 94. A status conference was set for July 18, 2016 at 8:30 a.m., which would
22

23                  address a sentencing date for the defendant. See ECF No. 123. Jury trial for the

24                  remaining defendants is set for June 13, 2017.

25          2.      By this stipulation, the parties move to (a) set the date of a sentencing hearing for Mr.
26                  Bahrami on July 24, 2017 at 8:30 a.m. and (b) vacate the status conference set for
27
                    July 18, 2016 at 8:30 a.m.
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                                                        1
           Case 1:15-cr-00045-LJO-BAM Document 131 Filed 07/14/16 Page 2 of 2


            3.      The parties stipulate and request a sentencing hearing for Mr. Bahrami on July 24,
 1
                    2017 at 8:30 a.m. to allow him to fulfill any remaining obligations in his plea
 2

 3                  agreement.

 4 IT IS SO STIPULATED.

 5

 6 DATED:           July 14, 2016
 7
                                           /s/ Patrick R. Delahunty
 8                                         PATRICK R. DELAHUNTY
                                           Assistant United States Attorney
 9

10 DATED:           July 14, 2016
11
                                           /s/Megan T. Hopkins
12                                         MEGAN T. HOPKINS, ESQ.
                                           Counsel for Defendant
13                                         MARTIN BAHRAMI
14

15

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17

18                                                ORDER
19

20
            IT IS SO FOUND AND ORDERED, good cause having been established, that (a) the
21
     sentencing hearing for Mr. Bahrami is set for July 24, 2017 at 8:30 a.m. and (b) the status
22
     conference set for July 18, 2016 at 8:30 a.m. is vacated.
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24
     Dated: July 14, 2016                                   /s/ Lawrence J. O’Neill___________
25                                                          HON. LAWRENCE J. O’NEILL
                                                            UNITED STATES DISTRICT JUDGE
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